Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 1 of 6 PageID #: 10652
Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 2 of 6 PageID #: 10653
Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 3 of 6 PageID #: 10654
Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 4 of 6 PageID #: 10655
Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 5 of 6 PageID #: 10656
Case 3:09-cr-00240   Document 2116   Filed 03/28/13   Page 6 of 6 PageID #: 10657
